     Case: 3:19-cv-00234-NBB-RP Doc #: 129-2 Filed: 10/26/20 1 of 17 PageID #: 778
                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION                                APPEARANCES:



                                                                                   JAMES D. WAIDE III, ESQUIRE
      DR. AMY R. WOODS                                       PLAINTIFF             RACHEL PIERCE WAIDE, ESQUIRE
                                                                                   waide & Associates, P.A.
       VS                    CIVIL ACTION NO. 3:19-CV-00234-NBB-RP                 Post office BOX 1357
                                                                                   Tupelo, Mississippi 38802
       MHM HEALTH PROFESSIONALS, LLC, D/B/A
      CENTURION PROFESSIONALS;                                                          REPRESENTING THE PLAINTIFF
       MANAGEMENT & TRAINING CORPORATION
       JESSE WILLIAMS, INDIVIDUALLY;                                               TIMOTHY M. PEEPLES, ESQUIRE
       AND JOHN DOES 1-9                                    DEFENDANTS             Daniel Coker Horton & Bell, P.A.
                                                                                   Post office Box 1396
                                                                                   Oxford, Mississippi 38655
                                                                                        REPRESENTING MTC & JESSE WILLIAMS

                      ZOOM DEPOSITION OF JESSE WILLIAMS                            DAVID LONG-DANIELS, ESQUIRE
                                                                                   Greenberq Traurig, LLP
                                                                                   3333 Piedmont Road ne. Suite 2500
                                                                                   Atlanta, Georgia 30305
                                                                                   ELIZABETH ROSS HADLEY, ESQUIRE
                   Taken at the instance of the plaintiff                          Greenberg Traurig, LLP
                                                                                   300 west 6th Street, Suite 2050
        with All Parties Appearing by zoom videoconferencing                       Austin, Texas 78701

                              On August 3, 2020                                         REPRESENTING MHM HEALTH PROFESSIONALS, D/B/A
                                                                                        CENTURION PROFESSIONALS
                                 At 12:31 p.m.

                                                                              ALSO PRESENT;   DR. AMY WOODS

       REPORTED BY:     SHARRON F. ALLEN, CSR, RPR
                        CSR NO. 1144




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